Case 2:19-cv-10586-GAD-SDD ECF No. 1 (fs (26/19 PagelD {p bee 1 of 25

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

Case:2:19-cv-10586

 

Judge: Drain, Gershwin A.

monae’ s Nowse MJ: Davis, Stephanie Dawkins

inti Filed: 02-26-2019 At 04:19 PM
mae CMP HOUSE v CULP. ET AL (dat)

teu ve sued in by the Clerk's Office)

(Write the full name of each plaintiff who is filing this complaint.
if the names of all the plaintiffs cannot fit in the space above,

please write “see attached" in the space and attach an additional Jury Trial: Yes [| No
page with the full list of names.) (check one)
Vv.

Lawrence Culp Chairman and CEO GE.,

General Electric Co.,

Defendants.

(Write the full name of each defendant who is being sued. If the
names of ail the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

Complaint for a Civil Case
Case 2:19-cv-10586-GAD-SDD ECF No.1 filed 02/26/19 PagelD.2 Page 2 of 25

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Michael J. House

 

27855 California Dr. NW

 

Lathrup Village

 

Michael J. House

 

248-979-0332

 

Thinkbig.mh@gmail.com

 

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
For an individual defendant, include the person’s job or title (if known). Attach

additional pages if needed.
Defendant No. 1

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 2

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Lawrence Culp

 

Chairman and CEO, GE

 

3135 Easton Turnpike

 

Fairfield

 

Connecticut. 06828-0001

 

1-203-373-2211

 

 

General Electric Company

 

 

3135 Easton Turnpike

 

Fairfield

 

Connecticut. 06828-0001

 

1-203-373-2211

 

 
 

Case 2:19-cv-10586-GAD-SDD ECF No.1 filed 02/26/19 PagelD.3 Page 3 of 25

MIED ProSe I (Rev 5/16) Complaint for a Civil Case

Defendant No. 3

Name

Job or Title
(if known)

Street Address

 

 

 

City and County
State and Zip Code

 

 

Telephone Number

E-mail Address
(if known)

 

 

Defendant No. 4

Name

Job or Title
(if known)
Street Address

 

 

 

City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

IL Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.
| § 1332, a case in which a citizen of one State sues a citizen of another State or nation and the

amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of

citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

Federal question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

 
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MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

Mais ts K Qiyil Nexon For Tare nk INF RR Ge MENA
AI Stig AN OKI Dre Pod ane Jayos oF he UAnvis & SFATRS |

“3S ALS .C. A ek Saag INFCnge mary cK oe O€@ MERE @laimns
OX US, Poren® BO, 7, AS B73

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a.

If the plaintiff is an individual
The plaintiff, (name) :
is a citizen of the State of (name)

 

 

If the plaintiff is a corporation
The piaintiff, (name)
is incorporated under the laws of the State of (name)

, and has its principal place of business in the

 

 

State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page
providing the same information for each additional plaintiff.)

2. The Defendant(s)

a.

If the defendant ts an individual

 

 

The defendant, (name) , iS a citizen of the
State of (name) . Or is acitizen of (foreign
nation)

 

If the defendant is a corporation

The defendant, (name) , Is Incorporated
under the laws of the State of (ame) , and
has its principal place of business in the State of (name)

. Or is incorporated under the Jaws of

 

 

 

(foreign nation) , and has its principal place
of business in (name)

 

 

(If more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant.)

4
Case 2:19-cv-10586-GAD-SDD ECF No.1 filed 02/26/19 PagelD.5 Page 5 of 25

MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

il.

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes
or the amount at stake—is more than $75,000, not counting interest and costs of
court, because fexplain):

The amount is 6 percent of each GENX and GE9X jet engines made to date of ail total gross
products made from 2012 to Present time with each engine list cost being GENX $25.6 million
each engine and GE9X $ 41.4 million each engine. | am requesting what would of been my
licensing fee 6 percent multiplied times the gross amount of engines made.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim ts asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

Michael J House : Brings COMPLIANT FOR PATENT INFRINGEMENT: This is a civil action for patent infringement
arising under the patent laws of the United States, 35 U.S.C. 1 et seq. infringement of one or more claims of US.
Patent No. 7,140,873 This U.S. Patent NO. was given to GE to review for submission to General Electric Margaret
Tadd Manager summited ideas with an offer to license from Michaet J. House to use this process on all their Engines
letter to Generai Electric Margret M. Todd Dated September,2,1998 U.S Postal Certified Mail.

Lawrence Culp Chairman and CEO GE Co is in direct control of ail General Electric Co. business affairs at the
present time. This is a civil action for patent infringement arising under the patent laws of the United States, 35
U.S.C. 1 et seq.

Infringement of U.S Patent NO. 7,140,873 on information and belief, Defendants severally, jointly, and/or collectively,
have directly, willingly and literally or under the doctrine of equivalents infringe at least claim 1 of the U.S. Patent NO.
7,140,873 patent by their make, manufacture, use, instatation, commission, sale, offer for sale and/or importation of
products and services related to this Multi ALL FUELS PROCESS Invention owned and invented by Michael J.
House.

General Electric Company: as a business during this time to present is responsible for this civil action for patent
infringement arising under the patent laws of the United States, 35 U.S.C. 1 et seq.

Infringement of U.S. Patent NO. 7,140,873 on information and belief, Defendants severally, jointly, and/or collectively
have directly, wiltingly and literally or under the doctrine of equivalents infringe at least claim 1 of the U.S. Patent NO.
7,140,873 patent by their make, manufacture, use, installation, commission, sale, offer for sale and/or importation of
products and services related to this Multi ALL FUELS PROCESS Invention owned and invented by Michael J.
House.
 

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MIED ProSe 1 (Rev 5/16} Complaint for a Civil Case

IV.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make iegal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages.

PRAYER FOR RELIEF

WHEREFORE, , Plaintiff respectfully prays for the following relief.
(a) A judgement that Defendants have infringed on U.S. Patent NO. 7,140,873
(b}) A judgment that Defendants infringement has been willful:
(c) An injunction against Defendants, their respective officers, agents, servants employees, attorneys, parent and
subsidiary corporations, assigns and successors in interest , and those in active concert or participation with them,
enjoining them from infringement of the U.S. Patent NO. 7,140,873, including but not limited to an injunction against
making, using, selling, and/or offering for sale within the United States, and/ or importing into the United States, any
products, methods, equipment and/ or services that infringe the U.S. Patent NO. 7,140,873 Process.
{d} Damages adequate under 35 U.S.C. 284 as a result of Defendants willful and deliberate infringement of the U.S.
Patent NO. 7,140,873.
(e} Treble damages under 35 U.S.C. 284 as a result of Defendants willful and deliberate infringement of the U.S.
Patent NO. 7,140,873.
(f} A declaration that this Action is exceptional pursuant to 35 U.S.C. 285, and award to Michael J House its fee and
cost and expenses incurred in connection with this action; and
(g} Such other relief as the Court deems just and equitable.

Michael J House is requesting what would have been my ticensing fee to GE 6 percent multiplied by total gross of
engines made that the Defendant owes to Michael J. House

DEMAND FOR JURY TRIAL

Pursuant to Rule 38{b) of Federal Rules of Civil Procedure, Plaintiffs demand a trial by jury on all issues on which

trial by jury is available under applicable law.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
1 agree to provide the Clerk’s Office with any changes to my address where case-

related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: BEES. . 20 J] . ,
Signature of Plaintiff J) hoa ~

Printed Name of Plaintiff LL PU bat LE. on Lt USE

 

  
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United States Patent

LS007140875B)

US 7,140,873 Bl

 

 
 
 

 

 

 

(42) iu) Patent No.:
House 45) Date of Patent: Nov. 28, 2006
($4) MURTI ALL FUEL PROCESSOR SYSTEM RR OR TY Anoye Gaga AFP 2O8
ASD METHOD OF PRETREATMENT FOR 4.098033 4% 8 YON SChumache wee ASD TI
ALL COMBUSTION DEVICES AAG AS 9 TeSe Malkimsen i TT COS
ASI AF STONE Smith etal Aq Sas
(78) Inventor: Michael J. House, 16181 Sotiwater Lk. AAS NTS TON AGG oor oe ee
Ir. finden. ME (US) 48451 ASODSSS NE 8) Golbsheerty oo an
- mS ‘ . ANTT INS Yt CG bU8O) Schubach eral oo. ANE OOS
. vo S200 A UENO Powel cee ABET
(73) Assiznes: Michael &. House. | inden. MIs) SUL AGE AY A PUST Sane etal ccccccccee. p23 ae
. _.. a _ SGNO8STE A 8 21995 PeBlane coccceee. 23487
(7) Notice: Subject to any disclaimer. the term of this RAOUIOO ATF T99S Reems oo ccceeeeee 219 208
Patent i extended or adjusted under 35 S734 At 129995) Cremtamann etal i. 43 LLY
Us.C. 1S44b) by 0 days. O@S81056 BE" P2008 Simonds 00 ee AR 108
S008 GLOOTIT AL* 7 G08 Sprouse et al . GOWN]
(21) Apph. No.: 09/259,503 ;
rp * on by cacminer
+ ophead: 4 . . . :
(22) Filed: Mar. 1, 1999 Primary fxaminer S. Gravina
(St) Ine. Cl. (87) ABSTRACT
FIIN 102 (20006.00}
(42) USC we SOME: 3b 21628: A processor system and method tor pretreaung ALT PUEDES
123-537 prior to combustion of a uns combustion des ice such as an
(48) Field of Classification Search oo... 431-208. engine in which fuel in a liquid state is contamed ina high
ART ATL 12. 47.36: 219 628, 629, 635, 202, pressure chamber and superheated toa state of elevated
219205, P24557, 58, $49 temperature and pressure.super heated lel is then injected
See appheation file for complete search history. inte the combustion chamber tor burning as demanded by
&y Ref | Cited the combustion device. Vhis process holds true tor Al |
(20) elerences © fe PULLS. Liquids. Gaseous. Pulterved Solids und Solids.
US. PAEENT DOCUMENTS Making itan Ideal UNIVERSAL selfcontained process that
can be adapted to existing needs as well as new needs lor
y fate * 4 - P e
2197904 ‘ ° 4 140 PONTY occ eens total energy use. This Process will allow ALT PUPP S to
Peanae ; . $ here ee al burn more cleanly and dheiends and will promote optimum
3650.78 A 4 LUT? Shakiha co ART oN SORRBESTIOR:
PISMO A PD BITS Verdoww 2. » BIT
SOR2IS7 OA OE E97 Culpepper. Ir . HE? 7 Claims, | Drawing Sheet
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Case 2:19-cv-10586-GAD-SDD ECF No.1 filed 02/26/19 PagelD.8 Page 8 of 25

U.S. Patent Nov. 28, 2006 US 7,140,873 Bl

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2:19-cv-10586-GAD-SDD ECF No.1 filed 02/26/19 PagelD.9 Page 9 of 25

US 7,140,873 B}

1
MULTLALL FUEL PROCESSOR SYSTEM
ASD METHOD OF PRETREATMENT FOR
ALL COMBUSTION DEVICES

CROSS-REFERENCT PFO RED ALED 4

APPLICATIONS
Not opplicuble

STATEMENT REGARDING FEDERALLY
SPONSORED) RESEARCH OR DEVELOPMENT

Not applicable
RELE RENCE TOA MICROFICHE APPENDIX
Not applicable
BACKGROUND OF THE INVENTION

Po dacld of the Invention

This invention concerns a new and uselul process that
volves the buming of any combustible fuels: higuid. gis-
cous. and solids: such as gusoling, diesel, kerosene. alcohol.
natural pas. coal. medical waste. hazardous waste. and.or *
aay fuel medium. to generate mechanical or heat energy.
‘This new process is useful for any fuel natural or man made,
ete. Thus. tt may tnerease the elficeency of all fuels, while
reducing Guiissions oF fuels being processed prior te com-
bustion with this new process. thus to climinate pollution of
land. din und water. and preserve energy.

2. Description of the Prior Art

Fhe eficieney developed by combustion devices such as
engines, boilers. or any device depends. toa large degree. on

~

: vo . 38
the completeness of combustion for any fuel lmissions.
abso. will increase or dgcreasy loa great extent to the degree
when complete combustion occun.

Accordingly. consideruble ¢dloris have been exerted
towards improving the efficiency of gasoline fuel in engines he

und some other combustion devices, such as boilers. These
other efforts seem to be very united in their upplications.

Through patent research. Teannet find an invention of this
bke. This invention. that I have created. is a very truly

needad and a new and usefl process. My invention is,

especially unique do the fact that this same new process is
Waeaded forall fuels. My claims are specific and clear cul,
in that, this process is intended for use of all fitets: solid.
liquid, and gaseous, which no ether invention ¢laims.

The present invention secks te provide a new process ins
such ua was as to further enhance combustion of all fuels.
making this a tay universal new process that can be
adapted te al] combustion mediums. new and ald.

BRIEF DESCRIPTION OF THE VIEW OF FTF 5
DRAWING

iG. Disa pkin view of the device used to camry out the
invention progess referred tous “Muli AI Fuel Processor

x

and Pre-treatment for all Combustion Devices” me

DE-LALILED DESCRIPTION

In the following detailed description, certain lechnology
WHE be employed tor the sake of clarity and a particular +
embodiment described in accordance with the requirements
of 3S (SC 'i2. but te be understood that the same is not

2

intended te be lmiting. inasmuch as the invention is cupuble
oftaking many forms and variations within the scope of the
appended clams.

Referring to the FG. 1. the present invention involves a
Processing svstum lor super preheating of any fuel prior to
burning ina combustion chimber (48) or a combustion
device (50).

The superheating is carried out in a heavy walled. high
pressure, and high temperature tubular enclosure (16). Fuel
from a storage tank (£2) is directed. uider pressure. lo an
inlet fitting (16) by operation of a pump (4) so as to
maumtain the bigh tempermure and high pressure chamber
(26), defined within the enclosure (10), tilled with fuels that
are Hquids. gaseous, pulverized solids. and solids. Also
provided. is a shut-off valve (£8) and one or more check
salves (20), able to withstand high temperature and high
pressure on the order of several hundred degrees and pounds
per square inch, or anhmiled. The pump (144 also. must be
cupable of developing such pressures as te enable delivery
of all fuels into chamber (26) against the high pressure
developed therein. by superheating,

A tungsten porcelain electrical resistance induction heit-
ing clement (22) extends lengthwise within a tubular heater
chamber (24). defined within the enclosure (10) ALP fuels
are directed into the annular chamber (26) surrounding the
induction heating red (22) to be heated. thereby. the heater
power source (28), controlled by thermostatic controls (34)
responsive to a tempeniture sensor (32) located in chamber
(24).

The wittlage of the electrical heater rod (22) should enable
heating of uny fuel. as high as sately possible: liquid fucts.
above their boiling point while under pressure: gaseous
fuels. should stay below their auto-ignition pom while
under pressure: pulserized solids, will alse hase auto-igni-
Ton points to stay below te eliminate spontaneous combus-
von: and solid: fuels. Che rate corresponds to the flow
demand required hy the combustion devices (50) using ue
super prehealing processor system.

A pressure rehel valve (34) allows safety pressure relic!
tousvent holding tink (36) «hich can communicate with the
fuel lank (12) sia a return dirtin line (38). A shield. or
insulating panels (not shown} may alse optionally be pro-
vided as safety measures.

The processed. super heated. und pressurived fief in
annular chatnber (26) passes aut to an outlet fitting {40}
commuTicating WiTh an open close injector valve (42) con-
trols (44) determining the duration ef the open interval for
the demand required by the particular combustion devices
A controfled quantity of processed. super heated. and super
pressunved. fuel is ajected through a spriv nozzle (46) inte
the combustion chamber (48) of those particular combustion
desitees (50),

Tr will be understood: that details of the combustion
devices (50) are not shown, as diese may be com entional.
but that surtable dir and a good stoichiometric rate. ignition,
und fuel will ordinarily he included.

When working with fuels dhat require high teamperatures
ant high pressures, the working stress of what materials
used to manutucture this process should tuke a minimus
x10 to 1S percent of the ultimate strength for safety factors.

Lhave. through testing and des clopment of dillerent fuels.
hiquids. paseous and solids, created a process that is univer-
sal and capable of processing all nels because of the
extreme temperatures the process requires: burning of
hydrocarbons and omisstons take place oniv at high tem-
peratures,
 

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US 7,140,873 BI

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In the testing and development of this prowess. | have
developed principles to be toflowed. not only for safety
factor reasons. but for oplinium efficiencies of combustion
lor whatever tuel you chose to utilize with this process.
Included in Appendix | of this package. shows a photogriph
ofa test bench that | have created in order to safely open
Name test all fuel prior to ase in order to establish three

physical states of matter: solids: liguids: and yaseous. OF

(hese states. tor whates er fuel vou choose to use. limits 4 ill
have to be esteblished for operstion, melting points. boiling
points, ervogenic points. expansion atios. flash puints.
Nammable ranges. EEL (iower explosive limits), to lean
UFT (upper explosive limis). to rich ignition temperiures
how hota particular fuel needs to nim. ante-igmien tem-
peratures for spontaneous combustion. sapor density, spe-
cific gravity, andor any testing that will establish safe limits
i which any fucl can be utilized. Also. the use of an
Instrument called a spectrometer can be used to test molecu-
lar structure, weight, formula. and anabysis of all fuels prior
te use, in establishing safe puide lintits prior to use of any
fuels.

Appendix 2 photographs that show an example of kero-
sene fuck in an open flame bench test were performed to

establish these twpes of limits. Notice the photograph of

open Thane test thatis very vellow in appearinee. This fuel
is an ambient temperature and is not clean. You can see the
presence of free carbons, that cause podlution. by their bright
yellow color, Now, the other photograph shows the inven-
Won process being tested with the same fuel, kerosene. by
unlimiteddy super heating this fuel Only. the visual lame
can be seen to burn much cleaner and efficiently because this
invention process allows for complete combusuon to occur,
thibiting tree carbons. emissions. and pollutants, thereby
increasing CHciencies.

Listed. are Methods tor Processing the 3 Physical States of

all Faels:

All fuels will hive boiliay points and points that are listed
on the previews parag\iph above. that you need to kaow
Prior to processing of uny fuel used: solids. liquids. und
gaseous. These pots will establish safe hints of processing
for that particular tuel before use on aay application.

Liquid Fuels:

Processing with high temperatures and pressures are ver
obtainable because the centuinment device can be made to
withstand these anlemat and external donces. allawing the
liquids to be Kept under pressure proportional to tempera-

ture. and kept from boiling while super heated. Becatse of

lavk oF oxygen ain liquid ueds. the chance of aute-ipnitions
of spontaneeus combustion is virtually ehminated, Fre-
quently, combustion calculations can be simplified by using
molecular mass (weight) as Uhe basis for culeulations. but
culewating and bench testing should be used to establish
guides for the parucular fuel ot use prior to production use
of this progess on any combustion mediums. if liquid
oxygen is added to fuels. auto-ignition temperatures and
pressures should be tested. All fuels should trv to stride for
unlimited temperatures and pressures in this process.

Included in Appendix 3 of this package. are examples of

some hquid fuels tested in aimospheric pressure. showing
the approaimate lemperiture cenain fuels can produce.
Vhese temperatures can gain even higher through this pro-
vess While increasing pressure lor the optimum combustion
of all fuels.

”

ai

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Giseous Firels

Processing with high tempeniture and pressures are very
obtainable because the contaiment device can be made to
withstand these intemal forces created. but aulo-ignition can
occur mixtures of gases or supors With iron oxypen will
explode spontaneously if the temperiture is: sulligiently
high. Auto-iznition temperatures are markedly decreased as
the pressure is raised above atmospheric. Minimunt aitto-
ignition temperatures und pressures should be established
with safety factors in mind prior to use of any fuel. All fuels
should tev to stide for unlimited temperatures and pressures
in this process. Included in Appendix 4 of this package. are
examples of minim auto-ignition temperatures of fuels in
viror oxygen atatmospheric pressures. Uhese temperatures
ean gain even higher through this process while increasing
pressure for the optimum combustion of all fuels.

Solid Fuels

Processing with high temperatures and pressures ure very
obtainable because the containment device used to curry out
this process cun be made to withstand these intemal and
extemal forces. allowing for ultimate efficiencies. Solid
foels are very similar in processing to those of liquid fueks.
Pulverized Solid Fuels

Processing with high temperature and high pressure are
very oblamuble because the containment des ice can be made
to withstand these internal and extemal forces created, but
dl ignition can oveur i mixture of gases or vapors with gir
of ox¥gen will explode spontaneously if Uhe temperature is
sufficiently high. Pulverized solid fuels are very similar in
processing fo that of gaseous fuels.

Appendix El shows physical and chemical properties of
methane and pasoline. This process requires testing of
whatever faeis you choose to process before processing use,
so that safety standard can be established for that applica-
UH,

BRIEF DPSCRIPTION OF THE SEVERAT
VIEWS OF THE DRAWINGS AND}
PHOTOGRAPHS

The file on this patent contains at least one drawing. and
photugriph executed in color, Phese color drawings and
color photographs are necessury to understand the working
Principles of this process. “Multi All Fuel Processor System
and Method of Pre-treatment tor Combustion Devices”

lasted. are Appendix. F through 1213:

Appendix J: Test Hench created by inventor, Michael J

House
Appendix 2: Test Bench buming Kerosene
Appendix 3: Liquid tuels tested. approximaie temperatures

luels obtain
Appendix 4: Gaseous fuels aito-ignition temperatures
Appendix §: Inventor, Michael } House. hokding processor
Appendix 6: Inventor holding actual device used in process
Appendix 7: Color drawings. 7 28 96. to carry out process
Appendix &: Color dims ings. 4/2693. to carry oul process
Appendix % Color drawings, 12 17 88. to carry out process
Appendix 10: Color drew ings, F217 88. lo carry ent process
Appendix [> Physical and chemical properties for methane

and pasoline
Appendix 22.4: Actual invention process installed on an
auiomobile engine test vehicle nade by inventor, Michael

J Eaotasa
Appendix 121: Actual test vehicle using invention process
 

 

 

 

 

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Fe

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OPaP Flome Tasty of A Fucks.

 

 

   

  
   

 

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AN fuels AUG Faseod Pree pe Use | Se Phas
Tempenoruces AAD Preesuces CAP Be Servs hod .
 

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APPENDIX ||

EAMP\ES

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Case 2:19-cv-10586-GAD-SDD ECF No.1 filed 02/26/19 PagelD.23 Page 23 of 25

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I claw:
1A process for the pre-treatment of fuels prier to
combustion within a aulti-chambered combustion device,
comprising the steps of:

dw) super pre-heating a fuel within a min chamber of said
multi-chambered combustion desice utilizing an inter-
nal electnical resistance daduction element. said element
logated inca chamber within said) multiichambered
combustion device Uherebs shielded from: direct contact
with snd fuel:

by selectively increusing the pressure of said temperuture-
ehewated fuel within said main chamber by controling
the How of said fuel moving through saad malti-
ghambered combustien des ive,

c) keeping said elevated temperature constant within said
multichambered combustion device ubilizing said glec-
trical resistance induchon element. sa ous lo further
maintain an elevated pressure of said fuel: and

J) trosterning said temperniture-eles ated fuel inte a con.
bustion chamber, suid combustion chamber uth ving ao
electrical discharge clement for combustion. sat com-
hustion chamber in) (tad communication with said
main chamber of said mubti-chunbersd combustion
device.

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2. The process of claim PE wherein said fuel is seleeted
trom the yroup consisting of liquid fuel puseous fuel. solid
tuel. and finely pulvertfed solid fuel.

3. Uhe process of claim To wherein said super pre-heating
step Galois carned out in a metal alloy enclosure cable of
withstanding a high pressure and a high temperature.

4. The process of claim 7 wherein said selects ely inersas-
ing the pressure step (b). further comprises the steps of:

a} withdrawing said uel from a stonige vessel, and

b) directing said fucl ailizing a pump through an mlet

fittiag on said multi-chambered combustion device

5. Lhe process of claim f wherein said keeping said
elevated temperature constant step fo) is aided by a multi-
tude al check valves on sand multi-cchambered combustion
device.

6. The process of cham 1 wherein said transternng step
(Wis achieved by a pump capable of perlormancy ata high
pressure und a high mnpertture.

7, The process of claim f wherein a tungsten porcelain
electical resistance induction heating clonient is responsible
tor said super pre-heating of said duct.
 

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CIVIL COVER SHEET

The JS 44 cevil cover sheet and the information contained herein neither reptace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974. is required for the use of the Clerk of Court for the
purpose of mnttiating the civil docket sheet. 48/4. JANTRUCTIONS ON NEXT PAGE GE THIS FORM

I. (a) PLAINTIFFS DEFENDANTS

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(b) County of Residence of First Listed Plaintiff
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IS 44 (Rev. 06:17) County in which action arose:

 

County of Residence of First Listed Defendant B+ BT AL

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VI. CAUSE OF ACTION

 

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VI. REQUESTED IN DEMAND §

 

{] CHECK IF THIS IS A CLASS ACTIGN CHECK YES only if demanded in complaint

 

COMPLAINT: UNDER RULE 23, FR Cv P JuRY DEMAND: — [ves [no
VII. RELATED CASE(S)
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Case 2:19-cv-10586-GAD-SDD ECF No.1 filed 02/26/19 PagelD.25 Page 25 of 25
PURSUANT TO LOCAL RULE 83.11

 

 

 

1. Is this a case that has been previously dismissed? [| Yes
If yes, give the following information: a
Court:

Case No.:
Judge:
2. Other than stated above, are there any pending or previously

discontinued or dismissed companion cases in this or any other [ ] Yes
court, including state court? (Companion cases are matters in which Bxtn0
it appears substantially similar evidence will be offered or the same

or related parties are present and the cases arise out of the same

transaction or occurrence.)

If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

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